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                          EXHIBIT 1
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             Case No. 18-cv-80176-BLOOM/Reinhart

   IRA KLEIMAN, et al.,

          Plaintiffs,
   v.

   CRAIG WRIGHT,

         Defendant.
   _______________________/

                                  AMENDED FINAL JUDGMENT

          THIS CAUSE is before the Court following entry of the Final Judgment, ECF No. [814],

   and Order on Motion to Amend Final Judgment, ECF No. [888] (“Order”). Pursuant to Rule 58,

   and for the reasons set forth in the Court’s Order, it is ORDERED AND ADJUDGED as follows:

          1. Judgment is entered in favor of Plaintiff W&K Info Defense Research, LLC, as to its

              claim against Defendant Craig Wright for Conversion in the amount of

              $100,000,000.00, for which sum let execution issue.

          2. Consistent with the Court’s Order, ECF No. [888], prejudgment interest shall be

              awarded in the amount of $43,132,492.48 pursuant to Florida Statute § 55.03.

          3. The Court reserves jurisdiction to award attorneys’ fees and costs.

          4. Post-judgment interest shall accrue on this Judgment pursuant to 28 U.S.C. § 1961.

          DONE AND ORDERED in Chambers at Miami, Florida, on March 9, 2022.




                                                         _________________________________
                                                         BETH BLOOM
                                                         UNITED STATES DISTRICT JUDGE
   Copies to: Counsel of Record
